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Complaint (TSP v MTA)

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Attomeys for Plaintiffs Tutor-Saliba-
Perini, J.V., Tutor-Saliba Corporation and
Tutor Perini Corporation

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
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TUTOR-SALIBA-PERINI, J.V., a BF GV l 3 0 6 / 9 D eh

California Joint Venture, TUTOR-
SALIBA CORPORATION, a

California Corporation, TUTOR COMPLAINT FOR:
PERINI CORPORATION, a
Massachusetts Corporation, 1. FEDERAL CIVIL RIGHTS
. VIOLATIONS UNDER 42
Plaintiffs, U.S.C. 1983, et. seq.
2. STATE CIVIL RIGHTS
Vv. VIOLATIONS UNDER THE
CALIFORNIA
THE LOS ANGELES COUNTY CONSTITUTION
METROPOLITAN 3. ABUSE OF PROCESS

TRANSPORTATION AUTHORITY, a
public entity, and DOES 1 through 10,
inclusive, [DEMAND FOR JURY TRIAL]

Defendants.

 

 

 

 

 

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Complaint (TSP v MTA)

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COME NOW, PLAINTIFFS TUTOR-SALIBA-PERINI, J.V., TUTOR-SALIBA
CORPORATION and TUTOR PERINI CORPORATION for causes of action against
Defendants named herein as follows:

INTRODUCTION

1. This is a case about a public agency using the enormous weapons of government
to punish a private sector company because the company asserted it rights to seek redress from
the government and engaged in the exercise of free speech to repair the wrongs created by the
local agency’s incompetence in the design and management of public construction projects.

2. Specifically, the Los Angeles County MTA engaged in an improper and injurious
campaign against Plaintiffs by using the forces only government possesses to placate the
personal animosity of certain public entity officials, including by the following acts and/or
omissions: (1) filing and aggressively prosecuting cross-complaints in civil litigation asserting
hundreds of millions of dollars in claims that it knew or reasonably should have known were
frivolous, without legal authority and/or without damage to the MTA; (2) asserting claims
against Plaintiffs that violated the Constitution of the United States, including by failing to meet
strict scrutiny standard required for set-aside programs; (3) attempting to tamper with witnesses
who were to provide testimony under subpoena that would have been negative to the MTA,
including by attempting to influence the testimony of witnesses, dissuading witnesses under
subpoena from testifying and retaliating against witnesses who complied with subpoenas; (4)
destroying and hiding the existence of evidence, including (a) scheduling documents and (b)
emails concerning MTA’s tampering with witnesses, as evidenced by the subsequent sworn
testimony of MTA’s Custodian of Records; (5) intentionally and maliciously offering
misleading and outright false testimony, under penalty of perjury, including that of Bruce
Warrensford, MTA’s Contract Administrator, for the benefit of the public agency and to cover-
up its tampering with witnesses and hiding evidence; (6) permitting its lawyers, as agents for
the MTA, to continue illegal acts on behalf of the MTA, including by suborning false testimony
and hiding evidence; (7) permitting its officials, lawyers and Board members to improperly

influence and interfere with the letting of contracts for public works projects around the State of

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California; (8) attempting to deny prequalification to Plaintiffs on other projects without due
cause and with the intent to harm Plaintiffs; and (9) otherwise using the vast police and
governmental powers beyond their intended purpose in an attempt to interfere with the property
rights and businesses of Plaintiffs, ruining the reputation of Plaintiffs and otherwise violate the
due process rights of Plaintiffs. These actions by MTA, its officials, Board members and
lawyers were done intentionally and with flagrant disregard for any notion of ethical obligations
and good judgment. These actions were directed at the highest levels of local government,
including but not limited to MTA Board Members and Los Angeles County Supervisors
Michael D. Antonovich and Zev Yaroslavsky. These officials have used the power of the MTA
for over fifteen [15] years in an attempt to slaughter TSP and its business.

3. While these illegal acts of the MTA failed to destroy Plaintiffs, MTA’s actions
have resulted in damage to Plaintiffs by forcing Plaintiffs to spend millions of dollars to
respond to such malfeasance by the MTA. In addition to the financial harm to Plaintiffs,
MTA’s actions have continued to harm the public works bidding process at MTA and
elsewhere in the State of California, which has led to additional costs to society and cynicism of
government and the public process.

THE PARTIES

4, At all times relevant herein, PLAINTIFF TUTOR-SALIBA-PERINI, J.V.
(TSP”) was and is a Joint Venture of Tutor-Saliba Corporation, a California corporation and
Perini Corporation, a Massachusetts corporation, organized and existing by virtue of, and in
compliance with, the laws of State of California, and authorized to do business and doing
business in the County of Los Angeles, State of California, and licensed to conduct work as a
general contractor by the State of California.

5. At all times relevant herein, PLAINTIFF TUTOR-SALIBA CORPORATION
(“TSC”) was and is a corporation, organized and existing by virtue of, and in compliance with,
the laws of State of California, and authorized to do business and doing business in the County
of Los Angeles, State of California, and licensed to conduct work as a general contractor by the

State of California.

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Complaint (TSP v MTA)

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6. At all times relevant herein, PLAINTIFF TUTOR PERINI CORPORATION
(“TPC”) was and is a corporation, organized and existing by virtue of, and in compliance with,
the laws of State of Massachusetts, and authorized to do business and doing business in the
County of Los Angeles, State of California, and licensed to conduct work as a general
contractor by the State of California, and is a publically traded company. Tutor Perini
Corporation was formally known as Perini Corporation. TPC is a publically traded company on
the New York Stock Exchange that employs nearly 10,000 men and women at any given time
and conducts construction work throughout the United States.

7. TSP, TSC and Perini are collectively known hereinafter as “Plaintiffs.”

8. These upper-tier contractors have successfully built billions of dollars in major
public works and private works projects for decades throughout California. Those projects
include but are not limited to twenty-one [21] MTA subway tunnel and station projects, the
Alameda Corridor rail project, BART subway extension stations and tracks contracts, the 1-80
San Francisco Bay Bridge projects, the Los Angeles International Runway and Taxiway
project, the San Francisco International Airport Reconstruction, the Richmond/San Rafael
Bridge Retrofit, the San Diego Convention Center, the Ronald Reagan Hospital at UCLA, The
UCLA Santa Monica Orthopedic Replacement Hospital, the Los Angeles Memorial Coliseum
Rehabilitation project, the Bradley International Terminal at LAX, the Oakland-Alameda
Sports Arena, the Los Angeles Central Library, the Moscone Convention Center expansion, the
MUNI Metro Turnback Facility, The USC Student Center, the Hyperion Wastewater Treatment
Plant, the LAPD Police Administration Building, federal courthouses in Los Angeles and
others. Plaintiffs have recently been selected to build the new High Speed Rail project by the
California High Speed Rail Authority. In addition, Plaintiffs and its subsidiaries have built
major projects throughout Nevada, Arizona, Washington, New York, Hawaii, Florida, Guam
and elsewhere. Plaintiff have built many projects for the United States Government, including
in domestic disaster areas, military institutions, war zones and embassies around the globe.
Plaintiffs are some of the most experienced, successful and important contributors to the

building of California and the United States.

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9. At all times relevant herein, DEFENDANT THE LOS ANGELES COUNTY
METROPOLITAN TRANSPORTATION AUTHORITY is a public entity duly organized
and existing by virtue of the laws of the State of California to build and operate certain public
transportation within the County of Los Angeles. (“MTA” or “Defendant”). The MTA is
created under the California Utility Code, with its officials and bureaucrats subject to specific
ethical requirements under that Code.

10. The identities of each fictitiously named Doe defendants are unknown to
Plaintiffs. Plaintiffs are informed and believe, and upon such information and belief thereon
allege, that each Doe defendant is in some manner legally responsible for the damages
hereinafter pled. Plaintiffs will seek leave of court to amend this Complaint once the true and
correct identity of these Doe defendants is ascertained. (Defendant MTA and DOES 1 through
10, inclusive, are sometime collectively referred to herein as “Defendants”).

11. Plaintiffs are informed and believe, and upon such information and belief thereon
allege, that at all times relevant hereto, Defendants, and each of them, were the agents and
employees of each other, and that each Defendant was acting in the scope of its, his or her
authority as such agent and/or employee of each other Defendant, and with the knowledge of
each other Defendant.

12. The causes of action raised herein are subject to tolling agreements between the
parties that have extended the statute of limitations to permit the filing of this lawsuit at this
time.

13. Plaintiffs have complied with all prerequisites to filing this lawsuit, including
submitting a claim, dated June 18, 2013, to Defendant MTA under California Government
Code section 901, et. seq.

JURISDICTION
14. This action arises under the United States Constitution, including under the First
Amendment of the Constitution, and under statutes of the United States, including 42 U.S.C.
1983, et. seq. In addition, this action includes claims arising under the Constitution and laws of

the State of California under the rules permitting this Court to adjudicate state law claims.

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VENUE

15. Defendant MTA resides in the Central District, with its headquarters being located
at 1 Gateway Plaza, Los Angeles, California. In addition, the actions complained herein
originated in the Central District.

FACTUAL BACKGROUND

16. Defendant MTA sought to construct various underground subway lines within the
County of Los Angeles, including the “Red Line.” The Red Line is commuter subway line
running between downtown Los Angeles via the districts of Hollywood and Mid-Wilshire to
North Hollywood. The Red Line consists of various subway stations and underground tunnels
and tracks. TSP understands that the subways system will continue to expand in length and
stations in the future.

17. In order to build the Red Line, the MTA contracted with construction companies
based upon the submission of bids, which were sought and received through the public works
bidding process required under the California Public Contract Code.

18. Plaintiffs TSP or TSC were the lowest bidders on twenty-one [21] public works
Invitations to Bid to build portions of the Subway System for the MTA, including Red Line
Projects. TSP and TSC entered into separate contracts to perform construction on specific
portions of the Red Line. All of the contracts entered into by Plaintiffs have been completed.
The contracts were divided into series, including A-series contracts, B-series contracts and C-
series contracts. This lawsuit involves three “B-series” contracts that TSP and TSC performed.
The three B-series contracts at issue called for TSC or TSP to construct stations and tunnel
segments along the “Wilshire Corridor,” and are known as the B221, B211 and B231 contracts
(collectively the “B-series Contracts”).

19. During the course of construction and thereafter, disputes arose, whereby TSP
and TSC sought compensation for damages against the MTA resulting from their work and the
work of subcontractors on B-series contracts, including for delays on the contracts, differing
site conditions, additional and changed scope of work and for other breaches of contract. These

claims for additional compensation were submitted to the MTA by request for change orders

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Complaint (TSP v MTA)

 

 
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pursuant to the terms of the B-series contracts.

20. Pursuant to the terms and conditions of the B-series contracts, all claims
submitted by the Contractor and by MTA, the Owner, were subject to being presented to the
Disputes Resolution Board (“DRB”’) required by the B-series contract. The decisions of the
DRB became full and final in the event that the adverse party to the recommendation failed to
provide notice of its intent to file litigation or appeal within 21 days of receipt of the decision or
recommendation of the DRB.

21. After MTA failed to follow the recommendations of the DRB or failed to permit
TSP to present claims at hearings before the DRB, TSP and TSC filed two lawsuits against the
MTA, which were consolidated and captioned as Tutor-Saliba-Perini, et. seg. v. The Los
Angeles County MTA, California Superior Court, County of Los Angeles, Case No. BC123559.

22. After four years of litigation and both parties stating they were ready for trial,
MTA filed a retaliatory cross-complaint, wherein MTA sought contrived damages and penalties
against TSP, TSC and Perini Corporation under the theories of breach of contract and violation
of the California False Claims Act (“FCA”) (““Cross-Complaint”). The filing of a retaliatory
cross-complaint was part of a new programmatic approach developed by the MTA and their
attorneys, including Robert Reagan of the County Counsel’s office, to respond to lawsuits from
selective contractors by manufacturing claims to use as a sword against the legitimate claims of
contractors. In fact, MTA’s counsel, Robert Reagan, started offering seminars of its retaliatory
program, entitled “The Empire Strikes Back” to spread its program to other public works
owners. The MTA used this new and illegitimate program to continue the vendetta against TSP
and its owners, and to use the power of government to “strike back” at TSP for exercising its
right to seek redress from the government.

23. Although its Cross-Complaint was sparse and pled without particularity, and
failed to allege that MTA presented its claims to the mandatory DRB, eventually MTA filed
written disclosures with the Court that it sought: (1) no less than 1,048 separate FCA violations
and penalties against Plaintiffs; and (2) $268,800,800.00 in damages against Plaintiffs. In

addition to the over $268 million sought, MTA also prayed for an injunction to enjoin TSP

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from bidding on other public works projects. Eventually, TSP learned that the Cross-Complaint
was filed by the MTA in an effort to deflect and offset TSP’s affirmative claims, to retaliate and
punish TSP and TSC for filing contractual claims with the DRB and then a lawsuit to recover
on its claims against the MTA, and ultimately to use the FCA, state law, legal proceedings, and
MTA’s police power, as a public agency and contracting party, as weapons to destroy TSP’s
reputation, bonding capacity and financial ability to bid and perform other public works
projects. In short, MTA’s Cross-Complaint was not filed in an effort to properly compensate
MTA for damages sustained or to secure remedies warranted under the law; rather, it was filed
simply to exact retribution against TSP for exercising its right to petition for redress of its
contractual grievances to MTA and then against MTA in the California Superior Court.

24. In pre-trial proceedings, including law and motion matters, Evidence Code
Section 402 hearings, and other proceedings aimed at evaluating MTA’s claims against legal
standards, Plaintiffs established that virtually all of MTA’s affirmative claims lacked legal or
factual merit, were barred based on procedural infirmity, and were based on grossly inflated,
fictional or invalid damage theories and calculations including, but not limited to, as follows:
(1) MTA’s FCA and breach of contract multimillion dollar claim based on the allegation that
TSP submitted “Frontloaded” bids on three B-series contracts was legally invalid and barred as
a matter of law; (2) MTA’s claim under the FCA to recover tens of millions of dollars from
TSP based on the assertion that TSP’s own extra cost claim against MTA for preventing TSP
from working at night as allowed under the B-221 Contract was a false claim legally and
factually invalid; (3) MTA’s multimillion dollar breach of contract claims against TSP based on
its “Disadvantaged Business Enterprise” (DBE) program requirements in its B-series contracts
were barred because MTA’s DBE program was presumptively illegal and violative of the Equal
Protection Clause of the United States Constitution, unless MTA could demonstrate the
provisions met constitutional strict scrutiny. Without any facts to support its DBE program
under strict scrutiny, the MTA withdrew its breach of contract claims based on its allegations of
DBE program non-compliance; (4) MTA’s claims to recover FCA penalties for each alleged

false statement or document barred as a matter of law; (5) MTA’s effort to obtain an injunction

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Complaint (TSP v MTA)

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based on its allegations is barred as a matter of law; (6) MTA’s claims predicated on the
allegation that TSP’s own Complaint contained false claims were legally barred under a proper
interpretation of the scope of the FCA as guided by the Noerr-Pennington doctrine; (7) MTA
was limited by the Superior Court to the measure of damages for its “quality control” claim to
the “out of pocket” measure of damages. With this limitation and the lack of any real damages,
the MTA withdrew its once multi-million dollar quality control claim; and (8) MTA’s claims of
damages from its “Buy America Act” claims, “Bridging Beam” claim, “Project “S” claims” and
“Pile Interference” claim lacked merit. After MTA’s claims, penalties and damages were
reduced or barred outright by the Superior Court limiting its potential recovery to a few
hundred thousand dollars, the MTA withdrew its remaining affirmative claims and requested
the Superior Court enter judgment in TSP’s favor on TSP’s remaining claims.

25. In addition to asserting claims in its Cross-Complaint that were frivolous and
lacking any legal support as summarized above, MTA, by and through its officials and
attorneys, using the power of government under the color of authority, engaged in illegal
conduct, including attempting to tamper with a witness and providing false testimony. In one
example, after finding prima facie evidence, the Superior Court issued an order to hold a
contempt of court hearing for witness tampering against the MTA, including for acts of
unlawful interference with the process or proceedings of the Superior Court, as provided in
section 1209(a)(8) of the California Code of Civil Procedure, including violation of Penal Code
section 136.1(a)(2), for preventing a 74 year old worker, Dennis Alexander, from conducting
services for the MTA while under subpoena to testify in an upcoming trial on TSP’s claims.
After a period of discovery and conducting an evidentiary trial on the contempt matter, the
Superior Court issued an order finding that: (a) the MTA official, Bruce Warrensford, while
testifying as Director of Contract Administration and “Person Most Knowledgeable” for the
MTA, “did not testify truthfully” at the contempt hearing. The untruthful testimony took place
before proceedings in open court and at a sworn deposition. The Court concluded that Mr.
Warrensford testified to fabricate the fact that he did not make decisions alone to terminate Mr.

Alexander, i.e. he was persuaded to lie to cover-up for the malfeasance of more senior officials

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or attorneys of the MTA; and (b) “This court can draw a reasonable inference that the agent(s)
acting for MTA either (1) intended generally to punish Mr. Alexander for being adverse to
MTA, or (2) intended to attempt to deter Mr. Alexander from testifying in the future in the
current litigation.” and (c) the Superior Court concluded the contempt proceeding by referring
the case for possible criminal prosecution to the Attorney General of California. For reasons
unknown to Plaintiffs, the Attorney General has not informed Plaintiff whether she reviewed
the material or took action on the Court’s recommendation.

26. In addition, the MTA abused its government authority by ignoring court orders,
failing to produce evidence and providing declaration and sworn testimony that were false. In
one example, during the contempt proceedings ordered by the Court concerning the witness
tampering, MTA’s Custodian of Records and manager of MTA’s IT infrastructure, Vincent
Tee, testified in open court, on behalf of the MTA, that email documents did exist that MTA
and its lawyers failed to produce to Plaintiffs as required by lawful discovery requests and/or
court orders. This hiding of evidence was an attempt to cover-up the malfeasance by MTA and
its officials who tampered with a witness under subpoena.

27. Using the power of government and under the color of authority, MTA, by and
through its officials and attorneys, conducted the above-referenced acts for the purposes of
engaging in illegal conduct to prevent Plaintiffs from presenting and prosecuting claims, from
engaging in its profession of public works bidding and to retaliate against TSP for bringing and
prosecuting lawsuits against the MTA.

FIRST CLAIM FOR CIVIL RIGHTS VIOLATIONS
UNDER 42 U.S.C. 1983, ET. SEQ.
(By Plaintiffs against Defendant MTA and Does 1-10, Inclusive)
28. Plaintiffs incorporate paragraphs | through 27, inclusive, of this Complaint as
though fully set forth herein.
29. As endowed to the People of the United States as a fundamental right of liberty
and against tyranny of government, the First Amendment to the Bill of Rights of the United

States Constitution guarantees:

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“Congress shall make no law respecting an establishment of religion, or
prohibiting the free exercise thereof; or abridging the freedom of speech, or
the press, or the right of the people to peaceably assemble, and to petition
the government for a redress of grievances.”

30. Plaintiffs are informed and believe and upon such information and belief allege
that the conduct that damaged Plaintiffs described in Paragraphs 1 through 28 above, as
conducted by MTA through its officers, directors, Board, employees, attorneys and agents, was
designed by Defendants to interfere with Plaintiffs’ Constitutional right to seek redress from
Government of grievances, petition the Courts and to exercise free speech to enforce its rights
in connection with the B-series contracts, and to do so free of the MTA:

a. using the color of its authority and power as a governmental entity to file and
prosecute a Cross-Complaint against TSP, TSC and Perini under the FCA in retaliation of TSP
and TSC filing a government code claim and lawsuit against the MTA, in which MTA sought
1,048 violations of the FCA, of which 1,046 were grossly inflated in amount, mostly frivolous
and without merit, and ultimately withdrawn by MTA or dismissed by the Superior Court;

b. using the color of its authority and power as a governmental entity to tamper
with a witness under subpoena and to engage in other illegal conduct to dissuade a witness from
testifying in violation of criminal and civil law in order to create an advantage in litigation
brought by TSP and TSC against MTA, and/or to send a message to other witnesses that
cooperation with a private entity against the government will result in retribution;

c. using the color of its authority and power as a governmental entity, by and
through its official Bruce Warrensford, as MTA’s Director of Contract Administrator, and other
agents, to provide false and perjurious testimony in contempt of Court proceedings in an
attempt to create an advantage in litigation brought by TSP and TSC against MTA;

d. to use its power as a governmental agency under the color of authority to

withhold evidence or destroy evidence; and

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e. using the color of its authority and power as a governmental entity, by and
through its attorneys and agents, to intimidate or otherwise interfere with and prevents
Plaintiffs’ ability and opportunity to prequalify and/or submit bids for other public works
contracts with MTA and other government agencies in an attempt to ruin, destroy and terrorize
TSP, TSC and TPC and its officers, management and employees.

31. | MTA’s acts, as alleged above, acting under the color of state law, deprived
plaintiffs of rights, privileges or immunities secured by the Constitution or laws of the United
States, including pursuant to the First Amendment of the United States Constitution, to petition
the Government for redress of its grievances, and to exercise its right of free speech, to seek and
have liberty and due process of law under the Fifth and Fourteenth Amendment to the
Constitution, to pursue its occupation, contracts and business without being subjected to
inappropriate interference or retaliation by a governmental agency.

32. Each of the rights and interests described in above is a cognizable and protected
interest under 42 U.S.C. §1983, et, seq.

33. | MTA’s acts were the actual and proximate cause of the deprivation of Plaintiffs’
rights and interests described in the above paragraphs.

34. As a result of MTA’s above-mentioned acts, Plaintiffs, each of them, have
suffered damages in an amount according to proof at trial, but which Plaintiffs allege are in
excess of $22 million dollars.

35. Based on the foregoing, Plaintiffs are entitled to recover costs and attorney’s fees
incurred herein, pursuant to 42 U.S.C. §1988.

SECOND CLAIM CIVIL RIGHTS VIOLATIONS
UNDER THE CALIFORNIA CONSTITUTION
(By Plaintiffs against Defendant MTA and Does 1-10, Inclusive)
36. Plaintiffs incorporate paragraphs 1 through 35, inclusive, of this Complaint as
though fully set forth herein.
37. As gifted to the People of the State of California as a basic and fundamental

Declaration of Rights, state constitution guarantees and provides:

12
COMPLAINT

 

 
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Complaint (TSP v MTA)

b:13-cv-06795-GHK-E Document 1 Filed 09/16/13 Page 13 of 22 Page ID #:14

“All people are by nature free and independent and have inalienable rights.

Among these are enjoying and defending life and liberty, acquiring,
possessing, and protecting property, and pursuing and obtaining safety,
happiness and privacy”

“The people have the right to instruct representatives, petition the
government for redress of grievances, and assemble freely to consult for the
common good.”

38. | Such fundamental rights of liberty to seek redress from the government are to be
provided without interference, intimidation and retaliation by government.

39. Plaintiffs are informed and believe and upon such information and belief allege
that the conduct of the MTA taken under the color of authority damaged Plaintiffs as described
in Paragraphs 1 through 35 above, through the conduct of MTA’s officers, directors, Board,
employees, attorneys and agents, and that said conduct was designed by Defendants to interfere
with Plaintiffs’ right under the California Constitution to seek redress from the government,
exercise free speech and to petition the Courts for enforcement of its rights in connection with
the B-series contracts, and to do so free of the MTA:

a. using the color of its authority and power as a governmental entity to file and
prosecute a Cross-complaint against TSP, TSC and Perini under the FCA in retaliation of TSP
and TSC filing a government code claim and lawsuit against the MTA, in which MTA sought
1,048 violations of the FCA, of which 1,046 were grossly inflated in amount, mostly frivolous
and without merit, and ultimately withdrawn by MTA or dismissed by the Superior Court;

b. using the color of its authority and power as a governmental entity to tamper
with a witness under subpoena and to engage in other illegal conduct to dissuade a witness from
testifying in violation of criminal and civil law in order to create an advantage in litigation
brought by TSP and TSC against MTA, and/or to send a message to other witnesses that
cooperation with a private entity against the government will result in retribution;

c. using the color of its authority and power as a governmental entity, by and

through its official Bruce Warrensford, as MTA’s Director of Contract Administrator, and other

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COMPLAINT

 

 

 
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Complaint (TSP v MTA)

 

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agents, to provide false and perjurious testimony in contempt of Court proceedings in an
attempt to create an advantage in litigation brought by TSP and TSC against MTA;

d. to use its power as a governmental agency under the color of authority to
withhold evidence or destroy evidence; and

e. using the color of its authority and power as a governmental entity, by and
through its attorneys and agents, to intimidate or otherwise interfere with and prevents
Plaintiffs’ ability and opportunity to prequalify and/or submit bids for other public works
contracts with MTA and other government agencies in an attempt to ruin, destroy and terrorize
TSP, TSC and TPC and its officers, management and employees.

40. MTA’s acts, as alleged above, constituted a violation of Plaintiffs’ rights,
pursuant to the California Constitution, including Article 1, sections 1, 2, 3 and 7, which
include the right to petition government for redress of its grievances, and to exercise its state
constitutional protected right of free speech, to seek and have liberty and due process of law
under law, to pursue its occupation, contracts and business without being subjected to
inappropriate interference or retaliation by MTA.

41. Each of the rights and interests described in above is a cognizable and protected
interest under the State of California Constitution.

42. | MTA’s acts were the actual and proximate cause of the deprivation of Plaintiffs’
rights and interests described in the above paragraphs.

43. As a result of MTA’s above-mentioned acts, Plaintiffs, each of them, have
suffered damages in an amount according to proof at trial, but which Plaintiffs allege are in
excess of $22 million dollars.

THIRD CLAIM FOR ABUSE OF PROCESS
(By Plaintiffs against Defendant MTA and Does 1-10, Inclusive)

44. Plaintiffs incorporate paragraphs 1 through 43, inclusive, of this Complaint as
though fully set forth herein.

45. California state law recognizes a cause of action for abuse of process when a

party, including the government, uses criminal or civil legal process against another to

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COMPLAINT

 

 
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Complaint (TSP v MTA)

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accomplish a purpose for which it is not designed.

46. During its administration of the B-series contracts and during the subsequent
litigation concerning the B-series contract, the MTA engaged in multiple acts of abuse of
process against Plaintiffs, including but not limit to:

a. using the color of its authority and power as a governmental entity to file and
prosecute a Cross-complaint against TSP, TSC and Perini under the FCA in retaliation of TSP
and TSC filing a government code claim and lawsuit against the MTA, in which MTA sought
1,048 violations of the FCA, of which 1,046 were grossly inflated in amount, mostly frivolous
and without merit, and ultimately withdrawn by MTA or dismissed by the Superior Court;

b. using the color of its authority and power as a governmental entity to tamper
with a witness under subpoena and to engage in other illegal conduct to dissuade a witness from
testifying in violation of criminal and civil law in order to create an advantage in litigation
brought by TSP and TSC against MTA, and/or to send a message to other witnesses that
cooperation with a private entity against the government will result in retribution;

c. using the color of its authority and power as a governmental entity, by and
through its official Bruce Warrensford, as MTA’s Director of Contract Administrator, and other
agents, to provide false and perjurious testimony in contempt of court proceedings in an attempt
to create an advantage in litigation brought by TSP and TSC against MTA;

d. to use its power as a governmental agency under the color of authority to
withhold evidence or destroy evidence; and

e. using the color of its authority and power as a governmental entity, by and
through its attorneys and agents, to intimidate or otherwise interfere with and prevented
Plaintiffs’ ability and opportunity to prequalify and/or submit bids for other public works
contracts with MTA and other government agencies in an attempt to ruin, destroy and terrorize
TSP, TSC and TPC and its officers, management and employees.

47. The above acts were done willfully by MTA, by and through its employees,
agents and attorneys, for the improper purpose of retaliation and to prevent TSP and TSC from

having its lawful claims considered and paid and to have proper process before the Courts,

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COMPLAINT

 

 

 
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Complaint (TSP v MTA)

 

 

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agencies and administrative boards.

48. As adirect and proximate result of the abuse of process by the MTA, Plaintiffs
have been damaged, including but not limited to the expenditures of costs, attorney’s fees and
general compensatory damages exceeding $22 million.

WHEREFORE, Plaintiffs Tutor-Saliba-Perini, J.V., Tutor-Saliba Corporation and
Tutor Perini Corporation pray for judgment against Defendant The Los Angeles County
Metropolitan Transportation Authority, and Does | through 10, and each of them, as follows:

lL. For a judgment for money damages in an amount in excess of $22,000,000, plus

interest, costs and attorneys’ fees, in accordance with proof and as allowed by law.

2. For such other and further relief as this Court may deem just and proper.
DATED: September 16, 2013 CASTLE & ASSOCIATES
A Professional Law Corporation

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By: re ©
Nomi L. Castle
Attorneys for Tutor-Saliba Perini, J.V, Tutor-

Saliba Corporation and Tutor Perini Corporation

16
COMPLAINT

 
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Complaint (TSP v MTA)

 

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DEMAND FOR JURY TRIAL
Plaintiffs, each of them, respectfully demand a jury trial for this action.

DATED: September 16, 2013 CASTLE & ASSOCIATES
A Professional Law Corporation

a
By: SG
Nomi L. Castle
Attorneys for Tutor-Saliba Perini, J.V, Tutor-

Saliba Corporation and Tutor Perini Corporation

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COMPLAINT

 

 
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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

1. (a) PLAINTIFFS ( Check box if you are representing yourself )
JUTOR-SALIBA-PERINI, J.V., TUTOR-SALIBA CORPORATION and TUTOR PERINI

CORPORATION

DEFENDANTS

( Check box if you are representing yourself ])

THE LOS ANGELES COUNTY METROPOLITAN TRANSPORTATION AUTHORITY

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same information.)
Nomi L. Castle, Esq. (Bar No. 113636)

CASTLE & ASSOCIATES, APLC

8383 Wilshire Blvd., Suite 810
Beverly Hills, California 90211

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same information.)

 

Il. BASIS OF JURISDICTION (Place an X in one box only.)

1, U.S. Government
Plaintiff

2. U.S. Government
Defendant

3. Federal Question (U.S.
Government Not a Party)

Cc 4, Diversity (Indicate Citizenship
of Parties In Item Ill)

 

 

IV. ORIGIN (Place an X in one box only.)

1. Original
Proceeding

x)

2. Removed from
State Court

CO

Il. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
PTF DEF PTF DEF
. Incorporated or Principal Place
Citizen of This State O 1 C 1 of Business in this State O 4 0 4
Citizen of Another State [7] 2 [7] 2 Incorporated and Principal Place Osos
Citi subject of of Business in Another State
itizen or Subject of a
Foreign Country (13 CJ 3 Foreign Nation Oe O6
. 6. Multi-
3, Remanded from Oo 4, Reinstated or Oo §. Transferred from Another O District
Appellate Court Reopened District (Specify) Litigation

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [] No
CLASS ACTION under F.R.Cv.P. 23:

L]Yes [X]No

(Check "Yes" only if demanded in complaint.)

MONEY DEMANDED IN COMPLAINT: $ 22 million

VI. CAUSE OF ACTION (Cite the US. Civil Statute under which you are fling and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Civil Rights Under 42 USC 1983; Federal and State Constitutional Violations; and Abuse of Process

 

Vil. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS |
([] 375 False Claims Act (_] 110 Insurance (| 240 Torts to Land oO 2 Naturalization Habeas Corpus: (L] 820 Copyrights
i
o 400 State ( 120 Marine (1) 245 Tort Product m ‘ [1] 463 Alien Detainee (_] 830 Patent
Reapportionment Liability 465 Other oO 510 Motions to Vacate
[7] 410 Antitrust (C1) 130 Miller Act oO 290 All Other Real |L1 immigration Actions Sentence [-] 840 Trademark
140 Negotiable Toperty TORTS (] 530 General SOCIAL SECURITY
O i sini a QO Instrument pERSONa. bas TY PERSONAL PROPERTY |[_] 535 Death Penalty f] 861 HIA (1395ff)
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O sero lea 150 Recovery of (_] 370 Other Fraud Other: (J 862 Black Lung (92.
tC. g (923)
* Overpayment& |[-] 310 Airplane
(1) 460 Deportation O Enforcement of 315 Airplane (1) 371 Truth in Lending |[7] 540 Mandamus/Other |[—] 863 DIWC/DIWW (405 (g)}
470 Racketeer Influ- Judgment CJ product Liability oO 380 Other Personal j|[_] 550 Civil Rights (L] 864 SSIO Title XVI
enced & Corrupt Org. |[7] 151 Medicare Act oO 30 ree Libel & Property Damage 555 Prison Condition () 865 RSI (405 (g))
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(F) 480 Consumer Credit 152 Recovery of 330 Fed. Employers’ |] 282 Property Damage] ~ s60 civil Detainee
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oO 153 Recovery of o 422 Appeal 28 : efendant)
modkie aa: Overpayment of |] pei Marine Product jl usc 158 625 Drug Related Cy 271 IRS-Third Party 26 USC
890 Other Statuto Vet. Benefits Y i C1 Seizure of Property 21 7609
oO ty 423 Withdrawal 28
Actions 160 Stockholders’ |C) 350 Motor Vehicle 0 usc 157 USC 881
CO 291 Agricultural Acts [C1 suits as Metatea CIVIL RIGHTS [J 690 Other
893 Environmental 190 Other [x] 440 Other Civil Rights LABOR
OO Matters oO 360 Other Personal -
Contract 0 Inju 710 Fair Labor Standards
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oO a Freedom of Info. 0 195 Contract q 362 Personal Injury- = Act
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[L) 896 Arbitration [1] 196 Franchise oO a rae C1] Accomodations 40 Railway Labor Act
REAL PROPERTY ,, C0 740 Raitwey Labor
899 Admin. Procedures 367 Health Care/ 445 American wit 751 Family and Medical
[[] Act/Review of Appeal of |[~] 210 Land {(] Pharmaceutical L] Disabilities- CD Leave Act
Agency Decision Condemnation Personal Injury Employment
(L] 220 Foreclosure Product Liability gO 446 American with = |) 730 Other Labor
950 Constitutionality of ~ 3¢@Asbe Disabilities-Other gation
O State Statutes 230 Rent Lease & |[7] 4 A. A i” 791 Employee Ret. Inc.
Ejectment h i"; Security Act
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FOR OFFICE USE ONLY: Case Number:

 

 

CV-71 (09/13)

CIVIL COVER SHEET

Page 1 0f3
. Case 2:13-cv-06795-GHK-E Document 1 Filed 09/16/13 Page 19 of 22 Page ID #:20

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIIL. VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Question A: Was this case removed from STATE CASE WAS PENDING IN THE COUNTY OF: INITIAL DIVISION IN CACD IS:
state court?
[] Yes [x] No [] Los Angeles Western
If "no, " go to Question B. If "yes," check the |[_] Ventura, Santa Barbara, or San Luis Obispo Western
box to the right that applies, enter the South
corresponding division in response to [_] Orange outhern
Question D, below, and skip to Section IX. E
(J Riverside or San Bernardino astern
Question B: Is the United States, or one of If the United States, or one of its agencies or employees, is a party, is it:
its agencies or employees, a party to this
action? INITIAL
A PLAINTIFF? A DEFENDANT? DIVISION IN
CACD IS:
O Yes x] No Then check the box below for the county in Then check the box below for the county in
which the majority of DEFENDANTS reside. which the majority of PLAINTIFFS reside.
If “no, " go to Question C. If"yes," check the |[_] Los Angeles {_] Los Angeles Western
box to the right that applies, enter the Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis
corresponding division in response to O Obispo O Obispo Western
Question D, below, and skip to Section IX.
[_] Orange [] Orange Southern
(] Riverside or San Bernardino L] Riverside or San Bernardino Eastern
[-] Other {_] Other Western
A. B. eC D. E. F.
Question C: Location of Los Angeles | Ventura, Santa Barbara, or | Orange County Riverside or San Outside the Central Other
plaintiffs, defendants, and claims?| | County San Luis Obispo Counties Bernardino Counties District of California
Indicate the location in which a
majority of plaintiffs reside: L] L] CL] (J L]
Indicate the location in which a
majority of defendants reside: LJ CJ L LC C]
Indicate the location in which a
majority of claims arose: LU L L] L O

 

 

 

 

 

 

C.1, Is either of the following true? If so, check the one that applies: C.2. Is either of the following true? If so, check the one that applies:
Cc] 2 or more answers in Column C EC] 2 or more answers in Column D
| only 1 answer in Column C and no answers in Column D LC] only 1 answer in Column D and no answers in Column C
Your case will initially be assigned to the Your case will initially be assigned to the
SOUTHERN DIVISION. EASTERN DIVISION.
Enter "Southern" in response to Question D, below. Enter "Eastern" in response to Question D, below.
If none applies, answer question C2 to the right. a> If none applies, go to the box below. J

 

Your case will initially be assigned to the
WESTERN DIVISION.
Enter "Western" in response to Question D below.

 

 

 

Question D: Initial Division? INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B, or C above: =>

 

 

 

Western

 

 

CV-71 (09/13) CIVIL COVER SHEET Page 2 of 3
Case 2:13-cv-06795-GHK-E Document1 Filed 09/16/13 Page 20 of 22 Page ID#:21

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
IX(a}. IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO ] YES
if yes, list case number(s):
IX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO | YES

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply)

C] A. Arise from the same or closely related transactions, happenings, or events; or

T] B. Call for determination of the same or substantially related or similar questions of law and fact; or

LC] C. For other reasons would entail substantial duplication of labor if heard by different judges; or

| D. Involve the same patent, trademark or copyright_and_ one of the factors identified above in a, b or c also is present.

 

 

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):

 

DATE: September 16, 2013

 

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

Abbreviation

HIA

BL

DIWC

DIWW

SSID

Rsl

Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims fited for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g)}

 

CV-71 (09/13)

CIVIL COVER SHEET Page 3 of 3
Case 2:13-cv-06795-GHK-E Document1 Filed 09/16/13 Page 21 0f 22 Page ID #:22

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

This case has been assigned to District Judge George H. King and the assigned
Magistrate Judge is Charles F. Eick

The case number on all documents filed with the Court should read as follows:
2:13-CV-6795-GHK (Ex)

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate Judge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge.

Clerk, U. S. District Court

 

 

 

September 16, 2013 By MDAVIS
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is

filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [] Southern Division (] Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

 
Case 2:13-cv-06795-GHK-E Document1 Filed 09/16/13 Page 22 of 22 Page ID#:23

Name & Address:

Nomi L. Castle, Esq. (Bar No. 113636)
CASTLE & ASSOCIATES, APLC
8383 Wilshire Blvd., Suite 810
Beverly Hills, California 90211

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
TUTOR-SALIBA-PERINI, J.V., a California joint | case NUMBER
venture, TUTOR-SALIBA CORPORATION, a
California, TUTOR PERINI CORPORATION, @ 6 7 9 5
Massachuset4s Corpora tion PLAINTIFF(S) CV i 4 = 0 — /
(Ef
THE LOS ANGELES COUNTY METROPOLITAN . ,
TRANSPORTATION AUTHORITY, a public entity,
and DOES 1 through 10, inclusive,
- DEFENDANT(S).

 

 

TO: DEFENDANT(S): THe Los ANGELES COUNTY METROPOLITAN TRANSPORTATION AUTHORITY

A lawsuit has been filed against you.

Within 21 _ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached complaint O amended complaint
0 counterclaim C cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attomey, Nomi L. Castle, Esq. , whose address is
8383 Wilshire Blvd., Suite 810, Beverly Hills, California 90211 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

013
Dated: SEP 16 ;

 

 

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-O1A (10/11 SUMMONS
